Case 1:18-cv-00299-WES-LDA Document 14 Filed 12/21/18 Page 1 of 12 PageID #: 114



                              UNITED STATES DISTRICT COURT
                                DISTRICT OF RHODE ISLAND


 BYRON AVILA,

                Plaintiff,

 v.                                                        C.A. No. 1:18-cv-00299-WES-LDA

 FEDERAL HOUSING FINANCE AGENCY;
 FEDERAL NATIONAL MORTGAGE
 ASSOCIATION; and CIT BANK, N.A. F/K/A
 ONEWEST BANK, FSB,

                Defendants.


                        FEDERAL HOUSING FINANCE AGENCY AND
                     FEDERAL NATIONAL MORTGAGE ASSOCIATION’S
                          ANSWER TO PLAINTIFF’S COMPLAINT

        Defendants, Federal Housing Finance Agency (“FHFA”) and Federal National Mortgage

 Association (“Fannie Mae”) (collectively, “Defendants”), respond to each and every allegation

 of Plaintiff, Cynthia Boss' ("Plaintiff"), Complaint for Declaratory, Injunctive Relief, and

 Damages (the "Complaint"), as follows:

        1.      Denied.

        2.      Paragraph 2 of Plaintiff’s Complaint introduces the Complaint, asserts legal

 conclusions and requests for relief that do not require a response. To the extent a response is

 required, denied.

        3.      [Plaintiff has not included any allegation numbered Paragraph 3].

        4.      Paragraph 4 of Plaintiff’s Complaint states legal conclusions and sets forth

 requests for relief that do not require a response. To the extent a response is required, denied.

 JURISDICTION AND VENUE




                                                                                      302979964v1 1010981
Case 1:18-cv-00299-WES-LDA Document 14 Filed 12/21/18 Page 2 of 12 PageID #: 115



         5.      Paragraph 5 of Plaintiff’s Complaint states a legal conclusion to which no

 response is required. To the extent that a response is required, Defendants assent to the

 jurisdiction of this Court.

         6.      Admitted.

         7.      Paragraph 7 of Plaintiff’s Complaint states a legal conclusion to which no

 response is required. To the extent that a response is required, Defendants accept venue in this

 district.

         8.      Paragraph 8 of Plaintiff’s Complaint states a legal conclusion to which no

 response is required. To the extent that a response is required, the United States Code and

 Federal Rules of Civil Procedure apply in this Court.

         9.      Defendants lack sufficient knowledge or information to admit or deny the

 allegations contained in Paragraph 9 of Plaintiff’s Complaint.

         10.     Admitted.

         11.     Fannie Mae is a corporation existing under the laws of the United States of

 America. Furthermore, 12 U.S.C. § 1716 speaks for itself. To the extent that Paragraph 11

 contains Plaintiff’s characterization of the cited statutory provisions, those allegations are denied.

         12.     Defendants lack sufficient knowledge or information to admit or deny the

 allegations contained in Paragraph 12 of Plaintiff’s Complaint.

         13.     Defendants lack sufficient knowledge or information to admit or deny the

 allegations contained in Paragraph 13 of Plaintiff’s Complaint.

         GENERAL FACTUAL ALLEGATIONS

                 The Conservatorship of FHFA over Fannie Mae




                                                   2
                                                                                      302979964v1 1010981
Case 1:18-cv-00299-WES-LDA Document 14 Filed 12/21/18 Page 3 of 12 PageID #: 116



        14.     The statutory provisions of the Housing and Economic Recovery Act of 2008

 (“HERA”) referred to in Paragraph 14 of Plaintiff’s Complaint speak for themselves. To the

 extent that Paragraph 14 contains Plaintiff’s characterization of the cited statutory provisions,

 those allegations are denied.

        15.     The statutory provisions of HERA referred to in Paragraph 15 of Plaintiff’s

 Complaint speak for themselves. To the extent that Paragraph 15 contains Plaintiff’s

 characterization of the cited statutory provisions, those allegations are denied.

        16.     The Statement of the FHFA Director referred to in Paragraph 16 of Plaintiff’s

 Complaint speaks for itself. To the extent that Paragraph 16 contains Plaintiff’s characterization

 of the cited statement, those allegations are denied.

        17.     The Congressional Budget Office (“CBO”) Background Paper referred to in

 Paragraph 17 of Plaintiff’s Complaint speaks for itself. To the extent that Paragraph 17 contains

 Plaintiff’s characterization of the cited statement, those allegations are denied.

        18.     The CBO Background Paper referred to in Paragraph 18 of Plaintiff’s Complaint

 speaks for itself. To the extent that Paragraph 18 contains Plaintiff’s characterization of the cited

 statement or document, those allegations are denied.

        19.     CBO Working Paper referred to in Paragraph 19 of Plaintiff’s Complaint speaks

 for itself. To the extent that Paragraph 19 contains Plaintiff’s characterization of the cited

 statement or document, those allegations are denied.

        20.     Fannie Mae's Annual Report, Form 10-K, for fiscal year 2014 (hereinafter the

 “2014 Annual Report") referred to in Paragraph 20 of Plaintiff’s Complaint speaks for itself. To

 the extent that Paragraph 20 contains Plaintiff’s characterization of the 2014 Annual Report or

 any statements therein, those allegations are denied.



                                                   3
                                                                                      302979964v1 1010981
Case 1:18-cv-00299-WES-LDA Document 14 Filed 12/21/18 Page 4 of 12 PageID #: 117



        21.     Denied.

        22.     Paragraph 22 of Plaintiff’s Complaint states a legal conclusion to which no

 response is required. To the extent this paragraph alleges facts, denied.

        23.     Paragraph 23 of Plaintiff’s Complaint states a legal conclusion to which no

 response is required. To the extent this paragraph alleges facts, denied.

        24.     The document referred to in Paragraph 24 of Plaintiff’s Complaint speaks for

 itself. To the extent Paragraph 24 contains Plaintiff’s characterization of that document or any

 statements therein, those allegations are denied.

        25.     Denied.

        26.     The statute referred to in Paragraph 26 of Plaintiff’s Complaint speaks for itself.

 To the extent Paragraph 26 contains Plaintiff’s characterization of that statute or any statements

 therein, those allegations are denied.

        27.     Denied.

        28.     Denied.

        29.     The document referred to in Paragraph 29 of Plaintiff’s Complaint speaks for

 itself. To the extent Paragraph 29 contains Plaintiff’s characterization of that document or any

 statements therein, those allegations are denied.

        30.     Denied.

        31.     Denied.

        32.     Denied.

        33.     The Senior Stock Preferred Stock Purchase Agreement referred to in Paragraph

 33 of Plaintiff’s Complaint speaks for itself. To the extent Paragraph 33 contains Plaintiff’s

 characterization of that document or any statements therein, those allegations are denied.



                                                     4
                                                                                    302979964v1 1010981
Case 1:18-cv-00299-WES-LDA Document 14 Filed 12/21/18 Page 5 of 12 PageID #: 118



        34.     Denied.

         The Agency Relationship between FHFA and Fannie Mae and Wells Fargo.
        35.   The FHFA Office of Inspector General Evaluation Report referred to in Paragraph

 35 of Plaintiff’s Complaint speaks for itself. To the extent that Paragraph 35 contains Plaintiff’s

 characterization of that document or any statements therein, those allegations are denied.

        36.     The Defendants are without knowledge or information sufficient to admit or deny

 the allegations contained within Paragraph 36 and therefore deny the same.

        37.     The Defendants are without knowledge or information sufficient to admit or deny

 the allegations contained within Paragraph 37 and therefore deny the same.

        38.     The document referred to in Paragraph 38 of Plaintiff’s Complaint speaks for

 itself. To the extent Paragraph 38 contains Plaintiff’s characterization of that document or any

 statements therein, those allegations are denied.

        39.     The document referred to in Paragraph 39 of Plaintiff’s Complaint speaks for

 itself. To the extent Paragraph 39 contains Plaintiff’s characterization of that document or any

 statements therein, those allegations are denied.

        40.     The document referred to in Paragraph 40 of Plaintiff’s Complaint speaks for

 itself. To the extent Paragraph 40 contains Plaintiff’s characterization of that document or any

 statements therein, those allegations are denied.

        41.     The document referred to in Paragraph 41 of Plaintiff’s Complaint speaks for

 itself. To the extent Paragraph 41 contains Plaintiff’s characterization of that document or any

 statements therein, those allegations are denied.

        42.     Denied.

        43.     Admitted.




                                                     5
                                                                                    302979964v1 1010981
Case 1:18-cv-00299-WES-LDA Document 14 Filed 12/21/18 Page 6 of 12 PageID #: 119



         44.    Defendants are without knowledge or information sufficient to admit or deny the

 allegations contained within Paragraph 44 of the Plaintiff’s Complaint and therefore deny the

 same.

         45.    The Notice referred to in Paragraph 45 of Plaintiff’s Complaint speaks for itself.

 To the extent Paragraph 45 contains Plaintiff’s characterization of that document or any

 statements therein, those allegations are denied.

         46.    Denied to the extent Plaintiff alleges a “purported” foreclosure.

         47.    The document referred to in Paragraph 47 of Plaintiff’s Complaint speaks for

 itself. To the extent Paragraph 47 contains Plaintiff’s characterization of that document or any

 statements therein, those allegations are denied.

         48.    Denied.

         49.    Defendants deny Plaintiff’s challenges to foreclosure.

         50.    The eviction action referred to in Paragraph 50 of Plaintiff’s Complaint speaks for

 itself. To the extent Paragraph 50 contains Plaintiff’s characterization of the present pending

 action, those allegations are denied.

         51.    Denied.

         COUNT I – DEPRIVATION OF PROPERTY WITHOUT DUE PROCESS

         52.    Defendants incorporate by reference their responses to Paragraphs 1 through 51 of

 Plaintiff’s Complaint.

         53.    Denied.

         54.    Denied.

         55.    Denied.

         56.    Defendants lack sufficient knowledge or information to admit or deny the

 significance of Plaintiff's claimed property interest at stake, and therefore deny the same. Further

                                                     6
                                                                                     302979964v1 1010981
Case 1:18-cv-00299-WES-LDA Document 14 Filed 12/21/18 Page 7 of 12 PageID #: 120



 answering, Paragraph 56 of Plaintiff's Complaint states a legal conclusion to which no response

 is required. To the extent a response is required, denied. Defendants deny the remaining

 allegations within Paragraph 56 of Plaintiff's Complaint.

        57.     Denied.

        58.     Denied.

        59.     Denied.

        60.     Denied.

               COUNT II – COMPLAINT PURSUANT TO R.I.G.L. 34-27-3.1

        61.     Defendants incorporate by reference their responses to Paragraphs 1 through 60 of

 Plaintiff’s Complaint.

        61.     The statute referred to in Paragraph 61 of Plaintiff’s Complaint speaks for itself.

 To the extent Paragraph 61 contains Plaintiff’s characterization of the statute, those allegations

 are denied.

        62.     [Plaintiff has not included any allegation numbered Paragraph 62].

        63.     Denied.

        61.     The statute referred to in Paragraph 61 of Plaintiff’s Complaint speaks for itself.

 To the extent Paragraph 61 contains Plaintiff’s characterization of the statute, those allegations

 are denied.

        64.     [Plaintiff has not included any allegation numbered Paragraph 64].

        65.     Denied.

        66.     Paragraph 66 of Plaintiff’s Complaint states a legal conclusion. To the extent any

 response is required, Defendant deny that Plaintiff has stated any claim for violations of R.I.G.L.

 34-27-3.1.

        67.     Denied.

                                                 7
                                                                                     302979964v1 1010981
Case 1:18-cv-00299-WES-LDA Document 14 Filed 12/21/18 Page 8 of 12 PageID #: 121



  COUNT III – BREACH OF THE COVENANT OF GOOD FAITH AND FAIR DEALING

         68.     Defendants incorporate by reference their responses to Paragraphs 1 through 68 of

 Plaintiff’s Complaint.

         69.     Denied.

         70.     Paragraph 70 of Plaintiff’s Complaint refers to a paragraph of the mortgage at

 issue in this litigation, which speaks for itself.

         71.     The document referred to in Paragraph 71 of Plaintiff’s Complaint speaks for

 itself. To the extent Paragraph 71 contains Plaintiff’s characterization of the statute, those

 allegations are denied.

         71.     Denied.

         72.     The notice referred to in Paragraph 72 of Plaintiff’s Complaint speaks for itself.

 To the extent Paragraph 72 contains Plaintiff’s characterization of the notice, those allegations

 are denied.

         73.     Paragraph 22 of Plaintiff’s mortgage speaks for itself.

         74.     Denied.

         75.     Denied.

         76.     Denied.

         77.     Paragraph 22 of Plaintiff’s mortgage speaks for itself.

         78.     Denied.

         79.     Paragraph 22 of Plaintiff’s mortgage speaks for itself.

         80.     Denied.

         81.     Denied.

         82.     Denied.

         83.     Denied.

                                                      8
                                                                                   302979964v1 1010981
Case 1:18-cv-00299-WES-LDA Document 14 Filed 12/21/18 Page 9 of 12 PageID #: 122



        84.     Denied.

        85.     Denied.

        86.     Denied.

        87.     Denied.

        88.     Denied.

        89.     [Plaintiff has not included any allegation at numbered Paragraph 89].

                          COUNT IV – DECLARATORY JUDGMENT

        90.     Defendants incorporate by reference their responses to Paragraphs 1 through 90 of

 Plaintiff’s Complaint.

        91.     Paragraph 91 states a legal conclusion to which to respond is required. To the

 extent any response is required, Defendants deny that Plaintiff is entitled to declaratory relief.

        92.     Denied.

        93.     Denied.

        94.     Denied.

        95.     Denied.

       COUNT V – CLAIM FOR INJUNCTIVE RELIEF AND PRELIMINARY AND
                         PERMANENT INJUNCTION

        96.     Defendants incorporate by reference their responses to Paragraphs 1-95 of

 Plaintiff’s Complaint.

        97.     Denied.

        98.     Denied.

        99.     Denied.

        100.    Defendants are without knowledge or information sufficient to admit or deny the

 allegations contained within Paragraph 100 of Plaintiff’s Complaint and therefore deny the same.


                                                   9
                                                                                      302979964v1 1010981
Case 1:18-cv-00299-WES-LDA Document 14 Filed 12/21/18 Page 10 of 12 PageID #: 123



         101.    Denied.

         102.    Denied.

         103.    Denied.

                    RESPONSE TO PLAINTIFFS’ PRAYERS FOR RELIEF

         Defendants deny that Plaintiff is entitled to any of the relief requested in each of the

   counts to this action.

                                   AFFIRMATIVE DEFENSES

                                FIRST AFFIRMATIVE DEFENSE

         Plaintiff’s Complaint fails to state a claim for which relief can be granted because, among

  other reasons, Plaintiff has no legal basis to maintain a due process claim arising out of Fannie

  Mae's foreclosure under Rhode Island's Statutory Power of Sale.

                              SECOND AFFIRMATIVE DEFENSE

         Plaintiff is estopped from challenging the Defendants' authority to accelerate or foreclose.

                                THIRD AFFIRMATIVE DEFENSE

         Defendants affirmatively plead Plaintiff's breach of contract and Defendants’ resulting

  authority to initiate foreclosure under the Statutory Power of Sale.

                              FOURTH AFFIRMATIVE DEFENSES

         Plaintiff's damages, in whole or in part, are barred by his failure to mitigate.

                                FIFTH AFFIRMATIVE DEFENSE

         Plaintiff’s claims are barred by the doctrine of unclean hands.

                                SIXTH AFFIRMATIVE DEFENSE

         This Court lacks subject matter jurisdiction over Plaintiffs’ claims pursuant to 12 U.S.C.

  § 4617(f).



                                                   10
                                                                                       302979964v1 1010981
Case 1:18-cv-00299-WES-LDA Document 14 Filed 12/21/18 Page 11 of 12 PageID #: 124



                             SEVENTH AFFIRMATIVE DEFENSE

         Plaintiffs’ claims are barred pursuant to the Housing and Economic Recovery Act of

  2008 (“HERA”).

                              EIGHTH AFFIRMATIVE DEFENSES

         Plaintiff’s claims are barred by the statute of limitations or limitations applied to cause of

  action in the complaint.


         WHEREFORE, Defendants, Federal Housing Finance Agency and Federal National

  Mortgage Association, request judgment in their favor on each and every cause of action asserted

  in Plaintiff Byron Avila’s Complaint, an award of costs of suit, including attorneys' fees, and any

  such other and further relief the Court deems just and appropriate.




                                                  11
                                                                                      302979964v1 1010981
Case 1:18-cv-00299-WES-LDA Document 14 Filed 12/21/18 Page 12 of 12 PageID #: 125



                                                       Respectfully submitted,

                                                       FEDERAL HOUSING FINANCE
                                                       AGENCY and FEDERAL NATIONAL
                                                       MORTGAGE ASSOCIATION,

                                                       By Their Attorneys,


                                                       /s/ Samuel C. Bodurtha
                                                       Samuel C. Bodurtha, Bar No. 7075
                                                       Ethan Z. Tieger, Bar No. 9308
                                                       HINSHAW & CULBERTSON LLP
                                                       56 Exchange Terrace
                                                       Suite 5
                                                       Providence, RI 02903
                                                       Telephone: (401) 751-0842
                                                       Facsimile: (401) 751-0072
                                                       sbodurtha@hinshawlaw.com
                                                       etieger@hinshawlaw.com

  Dated:     December 21, 2018

                                  CERTIFICATE OF SERVICE

          I, Samuel C. Bodurtha, hereby certify that the documents filed through the ECF system
  will be sent electronically to the registered participants as identified on the Notice of Electronic
  Filing (NEF) and paper copies will be sent to those indicated as nonregistered participants on
  December 21, 2018.

                                                     /s/ Samuel C. Bodurtha
                                                     Samuel C. Bodurtha




                                                  12
                                                                                      302979964v1 1010981
